IN THE UNITED STATES BANKRUPTCY COURT
FOR THE NORTHERN DISTRICT OF ALABAMA

EASTERN DIVISION
IN RE: )
DEE FORD’S WEST, LLC, ) CHAPTER 11, SUBCHAPTER V
Debtor. ) CASE NO.: 24-40320-JJIR

LIST OF EQUITY SECURITY HOLDERS

Pursuant to Rule 1007(a)(3) of the FEDERAL RULES OF BANKRUPTCY PROCEDURE, Dee

Ford’s West, LLC hereby provides the following list of holders of equity interests:

Interest Holder Kind of Interest Percentage Held
Dewey Lankford Ford Equity 100%
(Sole Member)

Respectfully submitted this 28th day of March, 2024.

/s/ Dewey Lankford Ford

Dewey Lankford Ford, aka Dee Ford,

as Sole Member of Dee Ford’s West, LLC,
Chapter 11 Debtor

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CERTIFICATE OF SERVICE

| hereby certify that on March 28, 2024, | electronically filed the List of Equity Security
Holders with the Clerk of the Court using the CM/ECF System, which will werve a copy on the

following:
Robert J. Landry, III Linda B. Gore
Assistant United States Chapter 13 Trustee
Bankruptcy Administrator noticetrustee@chi3gadsden.com

Northern District of Alabama
robert _landry@alnba.uscourts.gov

| further certify that on March 28, 2024, | served a copy of the List of Equity Security
Holders upon the creditors set out on the attached Mailing Matrix via United States Postal
Service, First Class Mail, Postage Prepaid.

/s/ J. Gabriel Carpenter
Alabama Consumer Law Group, LLC

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Label Matrix for local noticing
1126-1

Case 24-40320-JUR11

NORTHERN DISTRICT OF ALABAMA
Anniston

Thu Mar 28 16:37:23 CDT 2024

U. &. Bankruptcy Court
1100 Gurnee Avenue, Room 288
Anniston, AL 36201-4565

U.8. Securities and Exchange Commission
Regional Director, Branch of Reorganizat
Atlanta Regional Office, Suite 900

950 East Paces Ferry Road

Atlanta, GA 30326-1180

United States Bankruptcy Administrator
Northern District of Alabama

1800 Fifth Avenue North

Birmingham, AL 35203-2111

Jonathan G Carpenter

Alabama Consumer Law Group, LLC
P.O. Box 756

Talladega, AL 35161-0756

Robert J Landry

Bankruptcy Administrator's Office
United States Courthouse

1100 Gurnee Avenue

Anniston, AL 36201-4565

Dee Ford’s West, LLC
1960 McCaig Road
Lincoln, AL 35096-4868

Secretary of the Treasury
1500 Pennsylvania Ave., NW
Washington, DC 20220-0001

United States Attorney
Northern District of Alabama
1801 Fourth Avenue North
Birmingham, AL 35203-2101

White Robins Inv, LIC
1960 MeCaig Road
Lincoln, AL 35096-4868

Linda B. Gore (SBRA)

Linda B. Gore (Sbra), Panel Trustee
301 South 3rd Street

Gadsden, AL 35901-5236

Internal Revenue Service
PO Box 7346
Philadelphia, PA 19101-7346

Thomas Lavigne

& §. Drew Barnett

880 Montclair Drive
Suite 300

Birmingham, AL 35213-1980

United States Attorney General
U.S. Department of Justice
950 Pennsylvania Avenue, NW
Washington DC 20530-0001

Harvey B. Campbell Jr.

Alabama Consumer Law Group, LLC
Post Office Drawer 756

400 §. Court Square

Talladega, AL 35160-2499

Megan Campbell Carpenter
Alabama Consumer Law Group, LLC
P.O. Drawer 756

Talladega, AL 35161-0756

The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.

(d) Internal Revenue Service
P.O. Box 7346
Philadelphia, PA 19101-7346

End of Label Matrix

Mailable recipients 15
Bypassed recipients 1
Total 16

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